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UNITED STATES DISTRICT COURT                                    EASTERN DISTRICT OF TEXAS


JEREMY ROBISON, individually and
                              §
on behalf of his son, R.R., a minor, et al.,
                              §
                              §
         Plaintiffs,          §
                              §
versus                        §                                  CIVIL ACTION NO. 1:17-CV-508
                              §
CONTINENTAL CASUALTY COMPANY, §
                              §
         Defendant.           §

                                 MEMORANDUM AND ORDER

        Pending before the court is Defendant Continental Casualty Company’s (“Continental”)

Motion for Summary Judgment (#143). Plaintiffs1 filed a response (#166), and Continental filed

a reply (#172). Plaintiffs also filed a supplement to their response (#206), to which Continental

filed a reply (#213), and Plaintiffs filed a sur-reply (#215). Having considered the pending

motion, the submissions of the parties, the record, and the applicable law, the court is of the

opinion that the motion should be granted.

I.      Background

        On January 28, 2016, students and staff members at Marshall Middle School (“MMS”),

part of the Beaumont Independent School District (“BISD”), were exposed to carbon monoxide

that leaked from a boiler and spread through the school’s ventilation system. According to a post-

incident report, 175 students and staff members received treatment for carbon monoxide exposure

from emergency medical services at the scene, 69 of whom were transported to local medical


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          Plaintiffs are 61 individuals, including 2 individuals who were adults at the time of the carbon
monoxide incident, 24 students who were minor children at the time of the incident but are now adults,
22 parents of the formerly minor children, and 13 students who were minor children at the time of the
incident and remain minor children, represented by their parents or guardians.
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facilities, and an estimated 105 individuals sought treatment at local medical facilities as walk-in

patients. In their Fifth Amended Complaint (#186), Plaintiffs assert claims for negligence, willful

and wanton conduct, gross negligence, and negligent undertaking against Continental.2 Plaintiffs

contend that Continental’s “breach of its duties was reckless, willful, and wanton.”

       Specifically, Plaintiffs assert that Continental undertook and breached a duty to Plaintiffs

under section 324A of the Restatement (Second) of Torts. See RESTATEMENT (SECOND) OF TORTS

§ 324A. According to Plaintiffs, Continental “undertook to perform duties owed by BISD to its

students . . . to render services such as inspection and certification of the boiler and its

appurtenances, including, inter alia, the combustion safety interlock device as well as safety

inspections, maintenance, and testing evaluations of boilers . . . pursuant to [s]ection 65.12 of the

Texas Boiler Act,” and to “provide students with a safe, clean and functional learning

environment, that it knew or should have known were necessary for the Plaintiffs’ protection and

safety.” Plaintiffs claim that Continental failed to exercise reasonable care in performing these

duties, which increased the risk of harm to students, faculty, and others at MMS, and that

Plaintiffs suffered harm because they relied on Continental’s undertaking to “make safe the

physical condition” of the school.

       Plaintiffs allege that at the time of the incident, Continental insured the boilers and

performed the most recent inspection of the MMS boiler at issue in this case (“Boiler 840”).

Indeed, on November 5, 2015—84 days before the carbon monoxide emission—Continental’s



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          Plaintiffs also sued Harris County Department of Education (“HCDE”) and OneCIS Insurance
Companies (“OneCIS”). On May 9, 2018, however, the court found that HCDE was improperly joined
to the case and dismissed HCDE as a defendant (#67). On May 10, 2018, the court granted the parties’
joint motion to dismiss OneCIS as a defendant (#70).


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inspector, Shannon Nester (“Nester”) performed an inspection of Boiler 840. Plaintiffs claim that

Nester was “charged with ensuring Boiler 840 was fit to operate with a working interlock safety

device” under the relevant statutory boiler regulations.3 Texas boilers are regulated by the Texas

Department of Licensing and Regulation (“TDLR”). TDLR’s Chief Boiler Inspector, Robby

Troutt (“Troutt”), conducted an investigation after the incident.

        On June 29, 2021, Continental filed its Motion for Summary Judgment (#143), seeking

summary judgment on the following grounds:

        (1)     Continental is entitled to sovereign immunity for the state-mandated boiler
                inspections (also called “jurisdictional inspections”) because Continental
                performs those inspections under authority delegated by state law and
                Continental was acting on behalf of and at the direction of the State of
                Texas in performing those inspections as an authorized inspection agency;

        (2)     Continental owed no duty to Plaintiffs for the state-mandated inspection
                because Continental’s conduct did [not] satisfy any of the elements for
                section 324A’s “undertaking” duty; and

        (3)     Continental did not breach any duty that resulted in any injury because its
                inspector complied with the Texas Boiler Law, as acknowledged by the
                Chief Boiler Inspector of the State of Texas.

II.     Analysis

        A.      Summary Judgment Standard

        A party may move for summary judgment without regard to whether the movant is a

claimant or a defending party. See Dillon Gage, Inc. of Dall. v. Certain Underwriters at Lloyds,

992 F.3d 401, 403 (5th Cir. 2021); Parrish v. Premier Directional Drilling, L.P., 917 F.3d 369,

380 (5th Cir. 2019); Apache Corp. v. W&T Offshore, Inc., 626 F.3d 789, 793 (5th Cir. 2010);


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         According to Plaintiffs, an interlock is a safety device that connects a boiler and its ventilation
fans and prevents a boiler from operating when it does not have adequate ventilation.


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CQ, Inc. v. TXU Mining Co., L.P., 565 F.3d 268, 272 (5th Cir. 2009). Rule 56(a) of the Federal

Rules of Civil Procedure provides that summary judgment shall be granted “if the movant shows

that there is no genuine dispute as to any material fact and the movant is entitled to judgment as

a matter of law.” FED. R. CIV. P. 56(a); United Steel, Paper & Forestry, Rubber Mfg., Energy,

Allied Indus. & Serv. Workers Int’l Union v. Anderson, 9 F.4th 328, 331 (5th Cir. 2021); Smith

v. Harris County, 956 F.3d 311, 316 (5th Cir. 2020); Parrish, 917 F.3d at 378; Hefren v.

McDermott, Inc., 820 F.3d 767, 771 (5th Cir. 2016). The party seeking summary judgment bears

the initial burden of informing the court of the basis for its motion and identifying those portions

of the pleadings, depositions, answers to interrogatories, and admissions on file, together with the

affidavits, if any, which it believes demonstrate the absence of a genuine issue of material fact.

Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986); Playa Vista Conroe v. Ins. Co. of the W., 989

F.3d 411, 417 (5th Cir. 2021); Jones v. United States, 936 F.3d 318, 321 (5th Cir. 2019); Mabry

v. Lee County, 849 F.3d 232, 234 (5th Cir. 2017). To warrant judgment in its favor, the movant

“must establish beyond peradventure all of the essential elements of the claim or defense.” Lyons

v. Katy Indep. Sch. Dist., 964 F.3d 298, 302 (5th Cir. 2020) (quoting Dewan v. M-I, L.L.C., 858

F.3d 331, 334 (5th Cir. 2017)); accord Access Mediquip L.L.C. v. UnitedHealthcare Ins. Co., 662

F.3d 376, 378 (5th Cir. 2011), cert. denied, 568 U.S. 1194 (2013). At the summary judgment

stage, the defendant “bears the burden of proving each element of each affirmative defense by a

preponderance of the evidence.” Petro Harvester Operating Co., L.L.C. v. Keith, 954 F.3d 686,

697 (5th Cir. 2020) (citing Celotex Corp., 477 U.S. at 322-23).

       “A fact issue is material if its resolution could affect the outcome of the action.” Hemphill

v. State Farm Mut. Auto. Ins. Co., 805 F.3d 535, 538 (5th Cir. 2015) (quoting Burrell v. Dr.


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Pepper/Seven Up Bottling Grp., Inc., 482 F.3d 408, 411 (5th Cir. 2007)), cert. denied, 136 S.

Ct. 1715 (2016); see Lexon Ins. Co., Inc. v. Fed. Deposit Ins. Corp., 7 F.4th 315, 321 (5th Cir.

2021); Dyer v. Houston, 964 F.3d 374, 379 (5th Cir. 2020); Parrish, 917 F.3d at 378. “Factual

disputes that are irrelevant or unnecessary will not be counted.” Tiblier v. Dlabal, 743 F.3d 1004,

1007 (5th Cir. 2014) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)); accord

Valencia v. Davis, 836 F. App’x 292, 296 (5th Cir. 2020). “An issue is ‘genuine’ if it is real and

substantial, as opposed to merely formal, pretended, or a sham.” Gerhart v. Barnes, 724 F.

App’x 316, 321 (5th Cir. 2018) (quoting Bazan ex rel. Bazan v. Hidalgo County, 246 F.3d 481,

489 (5th Cir. 2001)), cert. denied, 139 S. Ct. 1239 (2019); accord Hudspeth v. City of Shreveport,

270 F. App’x 332, 334 (5th Cir. 2008); see Nall v. BNSF Ry. Co., 917 F.3d 335, 340 (5th Cir.

2019). Thus, a genuine issue of material fact exists “if the evidence is such that a reasonable jury

could return a verdict for the nonmoving party.” Hefren, 820 F.3d at 771; accord Sanchez Oil

& Gas Corp. v. Crescent Drilling & Prod., Inc., 7 F.4th 301, 309 (5th 2021); Dyer, 964 F.3d at

379; Tiblier, 743 F.3d at 1007. The moving parties, however, “need not negate the elements of

the nonmovant’s case.” Pioneer Expl., L.L.C. v. Steadfast Ins. Co., 767 F.3d 503, 511 (5th Cir.

2014); see Savoy v. Kroger Co., 848 F. App’x 158, 160 (5th Cir. 2021); Stout v. Vincent, 717 F.

App’x 468, 470 (5th Cir. 2018) (citing Celotex Corp., 477 U.S. at 323).

       Once a proper motion has been made, the nonmoving parties may not rest upon mere

allegations or denials in the pleadings but must present affirmative evidence, setting forth specific

facts, to demonstrate the existence of a genuine issue for trial. Celotex Corp., 477 U.S. at 322

n.3; see Beard v. Banks, 548 U.S. 521, 529 (2006) (quoting FED. R. CIV. P. 56(e)); Clark v.

CertainTeed Salaried Pension Plan, 860 F. App’x 337, 340-41 (5th Cir. 2021); Acadian


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Diagnostic Labs., L.L.C. v. Quality Toxicology, L.L.C., 965 F.3d 404, 410 (5th Cir. 2020);

Smith, 956 F.3d at 316 (quoting James v. State Farm Mut. Auto. Ins. Co., 743 F.3d 65, 68 (5th

Cir. 2014)); Hassen v. Ruston La. Hosp. Co., L.L.C., 932 F.3d 353, 356 (5th Cir. 2019). The

court “should review the record as a whole.” Black v. Pan Am. Labs., LLC, 646 F.3d 254, 273

(5th Cir. 2011) (quoting Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150 (2000));

see Hacienda Records, L.P. v. Ramos, 718 F. App’x 223, 234 (5th Cir. 2018); City of Alexandria

v. Brown, 740 F.3d 339, 350 (5th Cir. 2014). All the evidence must be construed in the light

most favorable to the nonmoving parties, and the court will not weigh the evidence or evaluate its

credibility. Reeves, 530 U.S. at 150; Batyukova v. Doege, 994 F.3d 717, 724 (5th Cir. 2021);

Lyons, 964 F.3d at 302; Nall, 917 F.3d at 340; Tiblier, 743 F.3d at 1007. The evidence of the

nonmovants is to be believed, with all justifiable inferences drawn and all reasonable doubts

resolved in their favor. Tolan v. Cotton, 572 U.S. 650, 651 (2014) (citing Anderson, 477 U.S.

at 255); Batyukova, 994 F.3d at 724; Lyons, 964 F.3d at 302; Hassen, 932 F.3d at 355; Davenport

v. Edward D. Jones & Co., L.P., 891 F.3d 162, 167 (5th Cir. 2018). The evidence is construed

“in favor of the nonmoving party, but only where there is an actual controversy, that is, when both

parties have submitted evidence of contradictory facts.” Spring St. Partners-IV, L.P. v. Lam, 730

F.3d 427, 435 (5th Cir. 2013) (quoting Boudreaux v. Swift Transp. Co., 402 F.3d 536, 540 (5th

Cir. 2005); accord Lexon Ins. Co., Inc., 7 F.4th at 321; Geovera Specialty Ins. Co. v. Odoms,

836 F. App’x 197, 200 (5th Cir. 2020) (quoting Little v. Liquid Air Corp., 37 F.3d 1069, 1075

(5th Cir. 1994)).

       Furthermore, the court’s obligation to draw reasonable inferences “does not extend so far

as to allow a wholly ‘unreasonable inference’ or one which amounts to ‘mere speculation and


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conjecture.’” Mack v. Newton, 737 F.2d 1343, 1351 (5th Cir. 1984) (“[A]n inference would be

unreasonable if it would allow a jury to rest its verdict on mere speculation and conjecture.”

(quoting Bridges v. Groendyke Transp., Inc., 553 F.2d 877, 879 (5th Cir. 1977))); accord McGill

v. BP Exploration & Prod., Inc., 830 F. App’x 430, 432 (5th Cir. 2020); Batyukova, 994 F.3d

at 724 (“‘Conclusory allegations and denials, speculation, improbable inferences, unsubstantiated

assertions, and legalistic argumentation’ will not survive summary judgment.” (quoting Orr v.

Copeland, 844 F.3d 484, 490 (5th Cir. 2016))); Stearns Airport Equip. Co., Inc. v. FMC Corp.,

170 F.3d 518, 528 (5th Cir. 1999) (“If the [nonmoving party’s] theory is . . . senseless, no

reasonable jury could find in its favor, and summary judgment should be granted.” (quoting

Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451, 468-69 (1992))); Mills v.

Warner-Lambert Co., 581 F. Supp. 2d 772, 779 (E.D. Tex. 2008) (“[O]nly reasonable inferences

in favor of the nonmoving party can be drawn from the evidence.” (citing Eastman Kodak Co.,

504 U.S. at 469 n.14))). “Summary judgment may not be thwarted by conclusional allegations,

unsupported assertions, or presentation of only a scintilla of evidence.” Hemphill, 805 F.3d at

538 (citing McFaul v. Valenzuela, 684 F.3d 564, 571 (5th Cir. 2012)); accord Allaudin v. Perry’s

Rests., Ltd., 805 F. App’x 297, 299 (5th Cir. 2020); Acadian Diagnostic Labs., L.L.C., 965 F.3d

at 410 (quoting Turner v. Baylor Richardson Med. Ctr., 476 F.3d 337, 343 (5th Cir. 2007)); see

Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 888 (1990); Heath v. Elaasar, 763 F. App’x 351,

354 (5th Cir. 2019).

       Summary judgment is mandated if the nonmovants fail to make a showing sufficient to

establish the existence of an element essential to their case on which they bear the burden of proof

at trial. Nebraska v. Wyoming, 507 U.S. 584, 590 (1993); Celotex Corp., 477 U.S. at 322; Lyons,


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964 F.3d at 302; Musser v. Paul Quinn Coll., 944 F.3d 557, 560 (5th Cir. 2019); Tiblier, 743

F.3d at 1007; Curtis v. Anthony, 710 F.3d 587, 594 (5th Cir. 2013). “[W]here the nonmoving

party fails to establish the existence of an element essential to that party’s case, and on which that

party will bear the burden of proof at trial, no genuine issue of material fact can exist.” Goode

v. Greenstream Int’l, L.L.C., 751 F. App’x 518, 521 (5th Cir. 2018) (quoting Nichols v. Enterasys

Networks, Inc., 595 F.3d 185, 195 (5th Cir. 2007)); see Phillips v. Sanofi U.S. Servs. (In re

Taxotere (Docetaxel) Prods. Liab. Litig.), 994 F.3d 704, 710 (5th Cir. 2021); Apache Corp., 626

F.3d at 793. In such a situation, “‘[a] complete failure of proof concerning an essential element

of the nonmoving party’s case necessarily renders all other facts immaterial’ and ‘mandates the

entry of summary judgment’ for the moving party.” Alvarez v. City of Brownsville, 904 F.3d 382,

389 (5th Cir. 2018) (quoting United States ex rel. Farmer v. City of Houston, 523 F.3d 333, 337

(5th Cir.)), cert. denied, 139 S. Ct. 2690 (2019); accord Stingley v. Watson Quality Ford, 836 F.

App’x 286, 288 (5th Cir. 2020).

       B.      Sovereign Immunity

       As an initial matter, Continental asserts that it is entitled to sovereign immunity against

Plaintiffs’ claims. In Texas, it has long been recognized that sovereign immunity, unless waived,

protects the State, its agents, and its officials from lawsuits for damages. See Fort Worth Transp.

Auth. v. Rodriguez, 547 S.W.3d 830, 839 (Tex. 2018); Tex. Dep’t of Transp. v. York, 284 S.W.3d

844, 846 (Tex. 2009); City of El Paso v. Heinrich, 284 S.W.3d 366, 369 (Tex. 2009). A

governmental entity has sovereign immunity and cannot be held liable for the actions of its

employees unless there is a constitutional or statutory provision waiving such immunity. Sampson

v. Univ. of Tex. at Austin, 500 S.W.3d 380, 384 (Tex. 2016) (“The state or governmental unit can


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be sued only if the Legislature waives immunity in ‘clear and unambiguous language.’” (citing

TEX. GOV’T CODE § 311.034)); accord Harris County v. Annab, 547 S.W.3d 609, 613 (Tex.

2018); City of Watauga v. Gordon, 434 S.W.3d 586, 589 (Tex. 2014). “Sovereign immunity

protects the state and its various divisions, such as agencies and boards, from suit and liability,

whereas governmental immunity provides similar protection to the political subdivisions of the

state, such as counties, cities, and school districts.” Annab, 547 S.W.3d at 612 (quoting Travis

Cent. Appraisal Dist. v. Norman, 342 S.W.3d 54, 57-58 (Tex. 2011)); Mission Consol. Indep.

Sch. Dist. v. Garcia, 253 S.W.3d 653, 655 n.2 (Tex. 2008); see TEX. CIV. PRAC. & REM. CODE

§ 101.001(3) (defining “governmental unit”); Calhoun v. Villa, 761 F. App’x 297, 300 (5th Cir.

2019); Hays St. Bridge Restoration Grp. v. City of San Antonio, 570 S.W.3d 697, 703 (Tex.

2019).

         The Texas Supreme Court, however, has repeatedly rejected the extension of immunity to

private entities performing governmental functions. See Univ. of Incarnate Word v. Redus, 602

S.W.3d 398, 401 (Tex. 2020) (“We have yet to extend sovereign immunity to a purely private

entity—one neither created nor chartered by the government—even when that entity performs some

governmental functions.”); Nettles v. GTECH Corp., 606 S.W.3d 726, 738 (Tex. 2020);

Rosenberg Dev. Corp. v. Imperial Performing Arts, Inc., 571 S.W.3d 738, 752 (Tex. 2019);

Brown & Gay Eng’g, Inc. v. Olivares, 461 S.W.3d 117, 129 (Tex. 2015). The Texas Supreme

Court has analyzed “sovereign immunity in three contexts outside the State government: political

subdivisions, legislatively authorized entities, and government contracts.” Univ. of Incarnate

Word, 602 S.W.3d at 404. “An entity claiming governmental immunity must ordinarily be a

political subdivision.” Rosenberg Dev. Corp., 571 S.W.3d at 748.


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       In analyzing legislatively authorized entities that are not political subdivisions, [the
       court] consider[s] whether the authorizing statute “evinces clear legislative intent”
       to vest the entity with the “nature, purposes, and powers” of an “arm of the State
       government.” If so vested, “that entity is a government unit unto itself” and is
       “entitled to assert immunity in its own right” when it performs a government
       function. If, however, an entity’s underlying “nature, purposes, and powers” are
       not congruent with an arm of State government, then the legislature cannot “de
       facto grant” it sovereign immunity.

Univ. of Incarnate Word, 602 S.W.3d at 405 (quoting Rosenberg Dev. Corp., 571 S.W.3d at 749-

50); Ben Bolt-Palito Blanco Consol. Indep. Sch. Dist. v. Tex. Pol. Subdivisions Prop./Cas. Joint

Self-Ins. Fund, 212 S.W.3d 320, 325-26 (Tex. 2006). Thus, the relevant considerations in

determining whether a private entity is entitled to sovereign immunity are “whether the entity

acted as an arm of the State government and whether affording it sovereign immunity fits within

the doctrine’s underlying nature and purposes.” Univ. of Incarnate Word, 602 S.W.3d at 401.

       State action can occur when a “nominally private entity . . . is controlled by an ‘agency

of the State,’” or when it has been delegated a public function by the State. Brentwood v. Tenn.

Secondary Sch. Athletic Ass’n, 531 U.S. 288, 295 (2001) (quoting Pennsylvania v. Bd. of Dirs.

of City Trusts of Phila., 353 U.S. 230, 231 (1957) (citing West, 487 U.S. at 56; Edmonson v.

Leesville Concrete Co., 500 U.S. 614, 627-28 (1991))). Under the public function test, a private

entity may be deemed a state actor when that entity performs a function that is traditionally the

exclusive province of the State. Manhattan Cmty. Access Corp. v. Halleck, 139 S. Ct. 1921, 1928

(2019), aff’d, 821 F. App’x 317 (5th Cir. 2020); Wong v. Stripling, 881 F.2d 200, 202 (5th Cir.

1989); La. Div. Sons of Confederate Veterans v. City of Natchitoches, 370 F. Supp. 3d 692, 703

(W.D. La. 2019). In addition, state action may be found when a private entity is “‘entwined with

governmental policies’ or when government is ‘entwined in [its] management or control.’”



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Brentwood, 531 U.S. at 296 (quoting Evans v. Newton, 382 U.S. 296, 299, 301 (1966)); Magliulo

v. Edward Via Coll. of Osteopathic Med., ___ F. Supp. 3d ___, No. 3:21-CV-2304, 2021 WL

3679227, at *8 (W.D. La. Aug. 17, 2021). The Supreme Court has recognized that although an

organization appears to be private, it may be an arm of the State through “winks and nods.”

Brentwood, 531 U.S. at 302 n.4 (stating that “if formalism were the sine qua non of state action,

the doctrine would vanish owing to the ease and inevitability of evasion, and for just that reason

formalism has never been controlling”). Nevertheless, “[a]ction taken by private entities with the

mere approval or acquiescence of the State is not state action.” U.S. Am. Mfrs. Mut. Ins. Co. v.

Sullivan, 526 U.S. 40, 52 (1999) (citing Blum v. Yaretsky, 457 U.S. 991, 1004-05 (1982); Flagg

Bros., Inc. v. Brooks, 436 U.S. 149, 154-65 (1978); Jackson v Metro. Edison Co., 419 U.S. 345,

357 (1974)).

        A private business is not transformed into a state actor merely by statutory regulation. See

Blum, 457 U.S. at 1004 (quoting Jackson, 419 U.S. at 350 (stating that “the mere fact that a

business is subject to state regulation does not by itself convert its action into that of the State for

purposes of the Fourteenth Amendment”)). Rather, constitutional standards may be invoked only

“when it can be said that the State is responsible for the specific conduct of which the plaintiff

complains.” Id. A private entity is not entitled to sovereign immunity solely because the

legislature has authorized it to enforce state law through commissioned employees or contractors.

Brown & Gay Eng’g, 461 S.W.3d at 125-26 (“[W]e cannot adopt [the plaintiff]’s contention that

it is entitled to share in the [State’s] sovereign immunity solely because the [State] was statutorily

authorized to engage [the plaintiff]’s services and would have been immune had it performed those

services itself.”). The private status of an entity engaging in a governmental function that is “only


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one part of its overall operations[] undermines the notion that [it] is an ‘arm of the State’

government.” Univ. of Incarnate Word, 602 S.W.3d at 406-07 (holding that a private university’s

commissioned peace officers were not entitled to sovereign immunity because the university did

not act as an arm of the State in its overall operations, despite the fact that the Texas Education

Code authorizes private universities to commission and employ peace officers). An entity that

“exclusively performs functions assigned by the legislature and does not market its services to any

other use,” however, may be entitled to sovereign immunity. See Elec. Reliability Council of

Tex., Inc. v. Panda Power Generation Infrastructure Fund, LLC, 552 S.W.3d 297, 314 (Tex.

App.—Dallas 2018, pet. dism’d w.o.j.).

       In government contractor cases, the government’s control and the contractor’s discretion

are important factors in determining whether to extend sovereign immunity to a private entity.

Nettles, 606 S.W.3d at 732. “Courts that have considered the possibility of contractor immunity

have looked to the pleadings; does the suit complain of a governmental decision the contractor was

implementing, or of the manner in which the contractor performed a contractual obligation?” Id.

If it is the latter, the private contractor is not immune, as it is not entitled to immunity for the

manner in which it chooses to carry out a governmental function. Brown & Gay Eng’g, Inc., 461

S.W.3d at 125-26 (holding that an engineering firm was not entitled to immunity because the

plaintiffs did not complain of the government’s decision to build a tollway or of its existence but,

rather, the firm’s decisions in how it designed the tollway’s safeguards). The Texas Supreme

Court has indicated that this control test is also “instructive” in cases where an entity is

legislatively authorized. Univ. of Incarnate Word, 602 S.W.3d at 407.




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       Moreover, immunity “preserves separation-of-powers principles by preventing the

judiciary from interfering with the Legislature’s prerogative to allocate tax dollars.” Brown &

Gay Eng’g, Inc., 461 S.W.3d at 121. The purpose of sovereign immunity is to “protect[] the

public as a whole by preventing potential disruptions of key government services that could occur

when government funds are unexpectedly and substantially diverted by litigation.” Id.; see

Rosenberg, 571 S.W.3d at 740-41. Conferring immunity on a private entity, however, does not

serve the purposes of sovereign immunity where a plaintiff’s suit does not “threaten allocated

government funds.” Brown & Gay Eng’g, Inc., 461 S.W.3d at 127; accord Univ. of Incarnate

Word, 602 S.W.3d at 409.

       In its motion for summary judgment, Continental contends that it is entitled to sovereign

immunity because the claims against Continental “are based upon the state-mandated boiler

inspections that Continental performs as an arm of the state under statutory authority delegated to

it by the Texas Boiler Law and Rules.” Continental further asserts that Texas law extends the

same doctrine of sovereign immunity “that protects the state itself to a private entity that performs

those functions on behalf of the state.”

       Texas law governing boilers is set forth in Texas Health & Safety Code chapter 755 (the

“Texas Boiler Law”) and in Texas Administrative Code chapter 65 (the “Texas Boiler Rules”).

TEX. HEALTH & SAFETY CODE § 755; 16 TEX. ADMIN. CODE § 65. The Texas Boiler Rules

mandate that:




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       Boilers shall be inspected by the inspection agency that issued an insurance policy
       to cover a boiler located in this state, or authorized representative. All other
       boilers shall be inspected by the department.4

16 TEX. ADMIN. CODE § 65.61(b). Boiler inspectors employed by insurance companies are

commissioned by the state to perform inspections. Id. §§ 65.14, 65.90. They must meet various

requirements set forth by the state to hold a commission, including at least five years’ experience,

passing a test on the Texas Boiler Law and Rules, working for an entity that is approved by the

TDLR, and meeting individually with the Chief Boiler Inspector. See id. §§ 65.14, 65.25.

Notably, courts in other jurisdictions with similar state boiler inspection laws have held that boiler

inspectors employed by insurance companies are not entitled to immunity for boiler inspections

performed for state certification purposes. See, e.g. Hartford Steam Boiler Inspection & Ins. Co.

v. White, 775 N.E.2d 1128, 1137 (Ind. Ct. App. 2002) (holding that inspectors performing boiler

inspections for certification purposes are not entitled to immunity under Indiana law), trans.

denied; Logestan v. Hartford Steam Boiler Inspection & Ins. Co., 626 N.E.2d 829, 834 (Ind. Ct.

App. 1993) (same), trans. denied.

       Here, Continental is a purely private entity legislatively authorized to conduct boiler

inspections pursuant to the Texas Boiler Law and Rules. The authorizing statutes, however, give

no indication that the legislature intended boiler inspectors employed by insurance companies to

be entitled to sovereign immunity. Further, boiler inspections comprise only a small part of

Continental’s overall operations as an insurance company. This fact weighs against concluding

that Continental operates as an arm of the Texas government.


       4
          The 2015 version of the Texas Boiler Rules were in effect at the time of the carbon monoxide
incident and are applied herein where they differ from the current version.


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       Moreover, Continental’s argument fails under the control test. Plaintiffs do not complain

of the existence of the boiler laws and inspection requirements but rather Continental’s actions in

carrying out the inspection. Continental had discretion in how it completed the inspection and is

“responsible for its own negligence,” if any, “as a cost of doing business.” Brown & Gay Eng’g,

Inc., 461 S.W.3d at 127. Furthermore, because Continental is a private entity, Plaintiffs’ lawsuit

does not jeopardize government funds or raise separation-of-powers concerns. Thus, extending

sovereign immunity to Continental would not further the doctrine’s purposes, and summary

judgment with respect to Continental’s sovereign immunity claim is not warranted.

       C.      Duty Under a Negligent Undertaking Theory

       Under Texas law, a negligence claim consists of four essential elements:

       (1) a legal duty owed to the plaintiff by the defendant;
       (2) a breach of that duty;
       (3) an actual injury to the plaintiff; and
       (4) a showing that the breach was the proximate cause of the injury.

Eckhardt v. Qualitest Pharm., Inc., 751 F.3d 674, 681 (5th Cir. 2014) (quoting Kroger Co. v.

Elwood, 197 S.W.3d 793, 794 (Tex. 2006)); see Milligan v. Home Depot USA, Inc., 809 F.

App’x 217, 219 (5th Cir. 2020); Espinoza v. Cargill Meat Sols. Corp., 622 F.3d 432, 443 (5th

Cir. 2010); Boudreaux, 402 F.3d at 540-41; In re Oncor Delivery Co. LLC, 630 S.W.3d 40, 43

(Tex. 2021); Gharda USA, Inc. v. Control Sols., Inc., 464 S.W.3d 338, 352 (Tex. 2015). “[T]he

existence of duty is a question of law for the court to decide from the facts surrounding the

occurrence in question.” Allen v. Walmart Stores, L.L.C., 907 F.3d 170, 178 (5th Cir. 2018)

(quoting Greater Hous. Transp. Co. v. Phillips, 801 S.W.2d 523, 525 (Tex. 1990)); Pagayon v.

Exxon Mobil Corp., 536 S.W.3d 499, 503 (Tex. 2017). If the defendant owed no duty, it cannot



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be found liable for negligence. Allen, 907 F.3d at 180; Boudreaux, 402 F.3d at 542 n.19; Thapar

v. Zezulka, 994 S.W.2d 635, 637 (Tex. 1999).

       “A duty is a legally enforceable obligation to conform to a particular standard of conduct.”

Bauer v. Gulshan Enters., Inc., 617 S.W.3d 1, 22 (Tex. App.—Houston [1st Dist.] 2020, pet.

denied); San Benito Bank & Tr. Co. v. Landair Travels, 31 S.W.3d 312, 317 (Tex. App.—Corpus

Christi 2000, no pet.); accord City of Houston v. Jenkins, 363 S.W.3d 808, 817 (Tex.

App.—Houston [14th Dist.] 2012, pet. denied). “A duty can be assumed by contract or imposed

by law.” J.P. Morgan Chase Bank, N.A. v. Tex. Cont.Carpet, Inc., 302 S.W.3d 515, 530 (Tex.

App.—Austin 2009, no pet.). Whether a duty exists “turns ‘on a legal analysis balancing a

number of factors, including the risk, foreseeability, and likelihood of injury, and the

consequences of placing the burden on the defendant.’” Austin v. Kroger Tex. L.P., 746 F.3d

191, 198 (5th Cir. 2014) (quoting Del Lago Partners, Inc. v. Smith, 307 S.W.3d 762, 767 (Tex.

2010)); accord Bauer, 617 S.W.3d at 22; Gen. Elec. Co. v. Moritz, 257 S.W.3d 211, 218 (Tex.

2008). Of these factors, foreseeability of the risk is the dominant consideration. Boudreaux, 402

F.3d at 541; Greater Hous. Transp. Co., 801 S.W.2d at 525. Nevertheless, “foreseeability alone

is not sufficient to justify the imposition of a duty.” W. Hous. Airport v. Millennium Ins. Agency,

Inc., 349 S.W.3d 748, 754 (Tex. App.—Houston [14th Dist.] 2011, pet. denied) (citing City of

Waco v. Kirwan, 298 S.W.3d 618, 624 (Tex. 2009)); accord HNMC, Inc. v. Chan,

___S.W.3d___, No. 14-18-00849-CV, 2020 WL 2832780, at *8 (Tex. App.—Houston [14th

Dist.] May 28, 2020, no pet.); Gatten v. McCarley, 391 S.W.3d 669, 676 (Tex. App.—Dallas

2013, no pet.).




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       “Generally, there is ‘no duty to take action to prevent harm to others absent certain special

relationships or circumstances.’” Landrum v. Three Aces Towing, Inc., 628 S.W.3d 346 (Tex.

App.—Houston [14th Dist.] 2021, pet. filed) (quoting Torrington Co. v. Stutzman, 46 S.W.3d

829, 837 (Tex. 2000)); Gonzales v. O’Brien, 305 S.W.3d 186, 189 (Tex. App.—San Antonio

2009, no pet.). The court, however, may “recognize a new duty based on the risk-utility

balancing test.” Id. “[T]he nature of the relationship between the plaintiff and defendant is a

significant consideration in determining the existence of a duty of care.” W. Hous. Airport, 349

S.W.3d at 754 (citing Tex. Home Mgmt., Inc. v. Peavy, 89 S.W.3d 30, 34 (Tex. 2002)). In

determining whether to recognize a new duty, courts also consider: (1) whether one party had a

superior knowledge of the risk, (2) whether a party had a right to control the conduct of another,

(3) whether societal changes require the recognition of new duties, (4) whether the creation of a

new duty would be in conflict with existing statutory law, and (5) whether there are countervailing

concerns that would support or hinder the recognition of a new duty. Kalinchuk v. JP Sanchez

Constr. Co., No. 04-15-00537-CV, 2016 WL 4376628, at *3 (Tex. App.—San Antonio Aug. 17,

2016, no pet.) (quoting Gonzales, 305 S.W.3d at 189-90). “[A] mere bystander who did not create

the dangerous situation is not required to become the good Samaritan and prevent injury to

others.” Abalos v. Oil Dev. Co. of Tex., 544 S.W.2d 627, 633 (Tex. 1976) (quoting Buchanan

v. Rose, 159 S.W.2d 109, 110 (Tex. 1942))); Mendez v. Hous. Harris Area Safety Council, Inc.,

634 S.W.3d 154, 161 (Tex. App.—Houston [1st Dist.] 2021, pet. filed); Newsom v. B.B., 306

S.W.3d 910, 916 (Tex. App.—Beaumont 2010, no pet.). “The law does not require a person to

anticipate negligent or unlawful conduct on the part of another.” Gonzales v. Trinity Indus., Inc.,




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7 S.W.3d 303, 307 (Tex. App.—Houston [1st Dist.] 1999, no pet.) (citing De Winnie v. Allen,

277 S.W.2d 95, 98 (Tex. 1955)).

       Generally, however, “one who voluntarily undertakes an affirmative course of action for

the benefit of another has a duty to exercise reasonable care that the other[] person . . . will not

be injured thereby.” Poynor v. BMW of N. Am., LLC, 383 S.W.3d 201, 205 (Tex. App.—Dallas

2012, no pet.) (citing Fort Bend Cnty. Drainage Dist. v. Sbrusch, 818 S.W.2d 392, 395-96 (Tex.

1991)). The Restatement (Second) of Torts states:

       One who undertakes, gratuitously or for consideration, to render services to
       another which he should recognize as necessary for the protection of a third person
       or his things, is subject to liability to the third person for physical harm resulting
       from his failure to exercise reasonable care to protect his undertaking if (a) his
       failure to exercise reasonable care increases the risk of harm, or (b) he has
       undertaken to perform a duty owed by the other to the third person, or (c) the harm
       is suffered because of reliance of the other or the third person upon the
       undertaking.

RESTATEMENT (SECOND) OF TORTS § 324A; see Knife River Corp.-S. v. Hinojosa, 438 S.W.3d

625, 632 (Tex. App.—Houston [1st Dist.] 2014, pet. denied); Poynor, 383 S.W.3d at 205 (citing

section 324A favorably); Seay v. Travelers Indem. Co., 730 S.W.2d 774, 775-76 (Tex.

App.—Dallas 1987, no writ). Stated differently, a negligent undertaking duty arises when (1) a

defendant undertakes to perform services it knew or should have known were necessary for the

plaintiff’s protection; (2) the defendant failed to exercise reasonable care in performing those

services; and (3) the plaintiff relied on the defendant’s performance or the defendant’s performance

increased the plaintiff’s risk of harm. Nall v. Plunkett, 404 S.W.3d 552, 556 (Tex. 2013); Kenyon

v. Elephant Ins. Co., LLC, 628 S.W.3d 868, 892 (Tex. App.—San Antonio 2020, pet. granted).




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       This tort principle has been cited by courts applying Texas law. See Bauer, 617 S.W.3d

at 22; ENGlobal U.S., Inc. v. Gatlin, 449 S.W.3d 269, 280 (Tex. App.—Beaumont 2014, no pet.)

(recognizing section 324A as “a valid theory of liability under Texas law”); Little v. Delta Steel,

Inc., 409 S.W.3d 704, 717-18 (Tex. App.—Fort Worth 2013, no pet.) (applying section 324A to

a negligence case brought under Texas law). Indeed, under section 324A, a company may assume

a duty to protect another’s employees when it exercises control over the safety and security of the

related entity and its employees. See Little, 409 S.W.3d at 717 (opining that parent corporations

with “the right to control or actually control safety and security policies of the [subsidiary’s]

workplace have a duty to the workers to maintain a safe workplace”); see also In re DuPuy

Orthopaedics, Inc., Pinnacle Hip Implant Prod. Liab. Litig., 888 F.3d 753, 783 (5th Cir. 2018)

(recognizing that a parent corporation may owe a duty to protect its subsidiary’s employees where

it has undertaken to do so (citing Johnson v. Abbe Eng’g Co., 749 F.2d 1131, 1133 (5th Cir.

1984))).

       “The critical inquiry concerning the duty element of a negligent-undertaking theory is

whether a defendant acted in a way that requires the imposition of a duty where one otherwise

would not exist.” Nall, 404 S.W.3d at 555 (citing Torrington Co., 46 S.W.3d at 838-39). A

duty arises if a defendant affirmatively undertakes to perform services “upon which reliance can

be based.” Bauer, 617 S.W.3d at 22. The scope of a defendant’s undertaking duty is limited to

the task it has undertaken to perform. Torrington Co., 46 S.W.3d at 839; Knife River Corp.-S.,

438 S.W.3d at 634. “A mere promise to render a service coupled with neither performance nor

reliance imposes no tort obligation upon the promisor.” Fort Bend Cnty. Drainage Dist., 818

S.W.2d at 396.


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       In this case, Continental asserts that it did not owe Plaintiffs a duty because it did not

voluntarily undertake a duty under the Restatement (Second) of Torts section 324A. Specifically,

it maintains that section 324A is inapplicable in this case because Continental did not undertake

BISD’s duty of providing a safe environment to its students and staff, Nester’s inspection did not

increase the risk of harm to Plaintiffs, and neither BISD nor the students and staff at MMS

reasonably relied on Continental’s inspection because BISD was ultimately responsible for their

safety. Continental also contends that because it conducted the inspection pursuant to statutory

authority, the undertaking was not voluntary and, thus, cannot satisfy section 324A.

       Boilers operated in the state of Texas must be registered with the TDLR and have a

“current certificate of operation.” 16 TEX. ADMIN. CODE § 65.12. This certificate ensures the

boiler’s safety and is issued after the boiler passes a state boiler inspection. Id. § 65.15. As

discussed above, insurance companies employ individual inspectors to perform boiler inspections

pursuant to the Texas Boiler Law and Rules. Id. § 65.61(b). Insurance services are generally

provided for the insured’s benefit or protection. Kenyon, 628 S.W.3d at 896; see In re Deepwater

Horizon, 470 S.W.3d 452, 467 (Tex. 2015). “Thus, an insurance company can assume a

negligent undertaking duty by performing certain insurance-related services for an insured.”

Kenyon, 628 S.W.3d at 893 (citing Keightley v. Republic Ins. Co., 946 S.W.2d 124, 126 (Tex.

App.—Austin 1997, no writ)); Seay, 730 S.W.2d at 775.

       In Seay, the Dallas Court of Appeals reversed the district court’s grant of summary

judgment in favor of Defendant Travelers Insurance Company (“Travelers”), ultimately holding

that there was a fact issue regarding whether Travelers owed a duty to others by inspecting boilers.

Seay, a maintenance employee of the hospital, who was performing maintenance work on one of


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the boilers, suffered fatal injuries when the boiler’s safety valve released and ejected scalding

water onto him. Id. at 775. Seay’s heirs brought suit against Travelers, claiming that it

negligently inspected the boilers, causing Seay’s death. Id. In its motion for summary judgment,

Travelers asserted that it did not undertake a duty to the employees of a hospital it insured and

where it inspected the boilers. Seay, 730 S.W.2d at 780.

       Travelers filed a motion for summary judgment asserting it owed no duty to Seay. Id.

Seay’s heirs countered that Travelers undertook the duty to inspect the boiler and owed Seay a

duty pursuant to section 324A of the Restatement (Second) of Torts. Id. The Dallas Court of

Appeals held:

       The [Boiler] Act clearly contemplates that an entity operating a boiler obtain a
       “certificate of operation” assuring the safety of the boiler as a predicate to such
       operation. In order to receive the “certificate,” [the hospital] was obligated to have
       the boiler inspected. The State Inspectors are not obligated to “make rounds” and
       uncover boilers in need of inspection. Therefore, since [the hospital] obtained
       Travelers to perform the inspection, Travelers performed acts which were required
       of [the hospital] under the provisions of the Act designed to promote the safety of
       boilers. Consequently, the evidence fails to disprove that Travelers was
       performing a duty of care owed by [the hospital] to its employees, including the
       decedent.

Id. at 780.

       The court finds the holding in Seay persuasive. Here, two of the plaintiffs were BISD

employees at the time of the carbon monoxide release. At a minimum, there is a fact issue as to

whether Continental, as an insurer, owed a duty of care with respect to boiler inspections to BISD,

its employees, and its students. Indeed, Continental does not dispute that it owed a duty to BISD.

Further, Texas courts have held that a defendant may owe an undertaking duty to third parties.

Id. at 776 (“Texas courts ‘have repeatedly recognized that existence of a duty will not be defeated



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by the fact that the duty is claimed by a third party not in privity with the transaction giving rise

to the tort.’”); see Bujnoch v. Nat’l Oilwell Varco, L.P., 542 S.W.3d 2, 11-12 (Tex.

App.—Houston [14th Dist.] 2017, pet. denied); Steward v. Costello, No. 05-02-00679-CV, 2003

WL 115453, at *2 (Tex. App.—Dallas Jan. 14, 2003, no pet.) (holding that a company that loaded

and secured pipes into vehicle for another had undertaken a duty toward a third-party motorist);

C & H Nationwide, Inc. v. Thompson, 810 S.W.2d 259, 266-67 (Tex. App.—Houston [1st Dist.]

1991) (same), rev’d on other grounds, 903 S.W.2d 215 (Tex. 1994).

       Clearly, boiler inspections serve the purpose of ensuring that boilers operate safely. Seay,

730 S.W.2d at 779; see TEX. HEALTH & SAFETY CODE § 755.041. Troutt testified that the

purpose of boiler inspections is “[t]o ensure they’re safe and they have all the safety appurtenances

that are required by the Texas Boiler Law and Rules.” Nester, Continental’s inspector, testified

that he understood his inspection of Boiler 840 was for code compliance, which “protects the

vessel, which [in turn] protects equipment and property and people.”             Continental could

reasonably foresee that if the boiler was not safe, it could malfunction and injure those on the

school premises. Thus, Continental could reasonably foresee that BISD would rely on it to ensure,

through its inspection, that the boiler was safe to operate for the benefit of those on the premises

of MMS, including staff and students. Indeed, BISD’s representative, Mark McClelland, testified

that BISD and MMS relied on Continental’s boiler inspections because the school’s maintenance

staff had no expertise in boiler inspections or interlock devices and were not qualified to perform

inspections. By extension, it was reasonably foreseeable that the MMS staff and students were

third persons at an increased risk stemming from any failure by Continental to exercise reasonable




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care in performing the inspection. Therefore, Continental has not met its summary judgment

burden to negate the element of duty as a matter of law.

       D.      Breach of Duty and Proximate Cause

       Continental asserts that Plaintiffs have failed to establish that it breached a duty to them

or that any purported breach caused Plaintiffs’ harm. Continental maintains that it did not breach

any duty to Plaintiffs because Nester’s inspection complied with the Texas Boiler Law and Rules

requirements. Plaintiffs respond that Continental’s “inadequate boiler inspection caused the CO

release” because Nester failed to activate the boiler to check whether the interlock was connected

to the fans and functioning properly. Continental, in turn, asserts that Plaintiffs have failed to

present any evidence that Nester’s conduct during the inspection caused the carbon monoxide

release. The parties dispute whether Nester was required to turn on the boiler to test the interlock

device during his inspection pursuant to the Texas Boiler Law and Rules; whether the interlock

was properly connected to the boiler during the inspection; and whether Nester’s conduct was a

proximate cause of the carbon monoxide leak.

       To prevail on their negligence claim, Plaintiffs must show that Continental caused

Plaintiffs’ injuries. In Texas, proof of negligence requires a showing of proximate cause. Bos v.

Smith, 556 S.W.3d 293, 303 (Tex. 2018); HMC Hotel Props. II Ltd. P’ship v. Keystone Tex.

Prop. Holding Corp., 439 S.W.3d 910, 913 (Tex. 2014); W. Invs., Inc. v. Urena, 162 S.W.3d

547, 551 (Tex. 2005); Munoz v. City of Pearsall, 64 S.W.3d 119, 123 (Tex. App.—San Antonio

2001, no pet.) (citing Union Pump Co. v. Albritton, 898 S.W.2d 773, 775 (Tex. 1995)). A

plaintiff asserting negligent undertaking “must also prove that the defendant’s breach proximately

caused the plaintiff’s injuries.” Doe v. Messina, 349 S.W.3d 797, 800 (Tex. App.—Houston


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[14th Dist.] 2011, pet. denied); see Torrington Co., 46 S.W.3d at 838. Proximate cause consists

of two elements—cause in fact and foreseeability. Villafranca v. United States, 587 F.3d 257, 265

(5th Cir. 2009) (citing IHS Cedars Treatment Ctr. v. Mason, 143 S.W.3d 794, 798 (Tex. 2004));

Univ. of Tex. M.D. Anderson Cancer Ctr. v. McKenzie, 578 S.W.3d 506, 519 (Tex. 2019); HMC

Hotel Props. II Ltd. P’ship, 439 S.W.3d at 913; W. Invs., Inc., 162 S.W.3d at 551. “The cause

in fact element is satisfied by proof that (1) the act was a substantial factor in bringing about the

harm at issue, and (2) absent the act (‘but-for’ the act), the harm would not have occurred.” HMC

Hotel Props. II Ltd. P’ship, 439 S.W.3d at 913 (citing Akin, Gump, Strauss, Hauer & Feld,

L.L.P. v. Nat’l Dev. & Research Corp., 299 S.W.3d. 106, 122 (Tex. 2009)); accord Knight Oil

Tools, Inc. v. Rippy Oil Co., No. 10-18-00284-CV, 2021 WL 5235149, at *2 (Tex. App.—Waco

Nov. 10, 2021, no pet.). “Cause in fact is not established where the defendant’s negligence does

no more than furnish a condition which makes injuries possible.” IHS Cedars Treatment Ctr., 143

S.W.3d at 799; see Aguilar v. Morales, 545 S.W.3d 670, 680 (Tex. App.—El Paso 2017, pet.

denied); Rodriguez v. Moerbe, 963 S.W.2d 808, 818 (Tex. App.—San Antonio 1998, pet. denied)

(citing Union Pump Co., 898 S.W.2d at 776).

       “Foreseeability exists if the actor, as a person of ordinary intelligence, should have

anticipated the dangers his negligent act creates for others.”            Hulsey v. Attalla, No.

01-18-00180-CV, 2019 WL 3484082, at *5 (Tex. App.—Houston [1st Dist.] Aug. 1, 2019, no

pet.) (citing D. Houston, Inc. v. Love, 92 S.W.3d 450, 454 (Tex. 2002)); Barton v. Whataburger,

Inc., 276 S.W.3d 456, 463 (Tex. App.—Houston [1st Dist.] 2008, pet. denied). It also requires

that “the injured party is so situated with relation to the wrongful act that injury to him or to one

similarly situated might reasonably have been foreseen.” Taylor v. Louis, 349 S.W.3d 729, 735


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(Tex. App.—Houston [14th Dist.] 2011, no pet.) (citing Nixon v. Mr. Prop. Mgmt. Co., 690

S.W.2d 546, 551 (Tex. 1985)). Foreseeability does not permit recollecting events and theorizing

an extraordinary scenario where defendant’s actions caused the injury. Forrest v. Vital Earth

Res., 120 S.W.3d 480, 490 (Tex. App.—Texarkana 2003, pet. denied) (citing Read v. Scott Fetzer

Co., 990 S.W.2d 732, 737 (Tex. 1998)). Instead, the question “involves a practical inquiry based

on ‘common experience applied to human conduct.’” Id. (quoting Read, 990 S.W.2d at 737); see

Travis v. City of Mesquite, 830 S.W.2d 94, 98 (Tex. 1992); City of Austin v. Anam, 623 S.W.3d

15, 18 (Tex. App.—Austin 2020, no pet.). Only the general danger, not the specific series of

events that produced the harm, is required to establish foreseeability. Kenyon, 628 S.W.3d at 903;

Forrest, 120 S.W.3d at 490 (citing Walker v. Harris, 924 S.W.2d 375, 377 (Tex. 1996)); Green

v. City of Friendswood, 22 S.W.3d 588, 595 (Tex. App.—Houston [14th Dist.] 2000, pet.

denied).

       Proximate cause is usually a mixed question of law and fact for the jury to determine.

Cherry v. Tex. Dep’t of Crim. Just., 978 S.W.2d 240, 243 (Tex. App.—Texarkana 1998, no pet.)

(citing El Chico Corp. v. Poole, 732 S.W.2d 306, 314 (Tex. 1987)); accord Whitmire v. Terex

Telelect, Inc., 390 F. Supp. 2d 540, 558 (E.D. Tex. 2005) (citations omitted); see Forrest, 120

S.W.3d at 490. Because “Texas courts usually consider proximate cause an issue for the jury,”

“it has been said that summary judgment procedure is not well adapted to the disposition of

negligence cases.” Haangaard v. Harris County, No. 01-20672, 2002 WL 755304, at *2 (5th Cir.

Apr. 11, 2002) (citing Boyd v. Fuel Distribs., Inc., 795 S.W.2d 266, 272 (Tex. App.—Austin

1990, writ denied)); accord Whitmire, 390 F. Supp. 2d at 558 (citing Hennessy v. Perez, 725

S.W.2d 507, 509 (Tex. App.—Houston [1st Dist.] 1987, no writ)). “Nonetheless, proximate


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cause may be a question of law where the facts are conclusive.” Whitmire, 390 F. Supp. 2d at 558

(citing Purina Mills, Inc. v. Odell, 948 S.W.2d 927, 935 (Tex. App.—Texarkana 1997, pet.

denied)).

       A plaintiff must establish proximate cause by probative evidence, not mere conjecture.

Gutierrez v. Excel Corp. 106 F.3d 683, 687 (5th Cir. 1997); see Stanfield v. Neubaum, 494

S.W.3d 90, 97 (Tex. 2016); Nelson v. Sheedy, No. 05-16-01262-CV, 2018 WL 2434389, at *6

(Tex. App.—Dallas May 30, 2018, pet. denied). “Proximate cause, however, like any other

ultimate fact issue, may be established by circumstantial evidence.” Forrest, 120 S.W.3d at 490.

In some circumstances, “[e]ven if the injury would not have happened but for the defendant’s

conduct, the connection between the defendant and the plaintiff’s injuries may be too attenuated

to constitute legal cause.” In re Enron Corp. Sec., Derivative & ERISA Litig., 623 F. Supp. 2d

798, 811 (S.D. Tex. 2009) (citing Union Pump Co., 898 S.W.2d at 775). “[A] lack of proximate

cause may be established as a matter of law if the evidence is without material dispute and the

circumstances are such that reasonable minds could not arrive at a different conclusion.” Phillips

v. Tex. Dep’t of Crim. Just., 366 S.W.3d 312, 316 (Tex. App.—El Paso 2012, no pet.); see

Ambrosio v. Carter’s Shooting Ctr., Inc., 20 S.W.3d 262, 266 (Tex. App.—Houston [14th Dist.]

2000, pet. denied).

       Texas law establishes that an external inspection is “[a]n inspection of the exterior of a

boiler and its appurtenances that is made, if possible, while the boiler is in operation.”    TEX.

HEALTH & SAFETY CODE § 755.001(8); 16 TEX. ADMIN. CODE § 65.2(27). Section 65.603 of the

Texas Boiler Rules provides that “[t]he boiler and the fans shall be interlocked so that the burners

will not operate unless a supply of combustion, ventilation, and dilution air as required by the


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boiler manufacturer’s recommendations.”5 See 16 TEX. ADMIN. CODE § 65.603 (2015). Troutt’s

TDLR post-incident investigation report states the following:

        There were two (2) Power Ventilators (one Combustion and one Exhaust) installed
        in the Boiler Mechanical Room (Texas Boiler Rule 65.602 (b) requires power
        ventilator to be interlocked with the burners of the boilers to prevent operation if
        there is not adequate air supply). The combustion air fan was non-operational and
        the exhaust fan was operational. [T]his accident occurred as a result of two
        different failures. First was the non-operational status of the power ventilation
        fans. The second is due to the flame that was observed exiting the side of the
        boiler which was caused from corrosion of the fire box refractory.

Troutt concluded that the inoperative combustion fan caused the buildup and release of carbon

monoxide at MMS by creating negative pressure and air flow with the operative exhaust fan.

Post-incident, Troutt confirmed the presence of Boiler 840’s interlock system, as did BISD’s

corporate representative and the boiler manufacturer’s representative. According to Troutt, Boiler

840’s interlock device did not directly connect the boiler and fans. Rather, the interlock connected

the boiler and fans through two switches in the boiler room. The first is similar to a light switch,

and is labeled “ventilation fans” with the up position labeled “manual” and the down position

labeled “automatic.” The second switch has three positions; the up position is labeled “on,” the

middle position is labeled “off,” and the down position is labeled “auto.” Notably, Troutt

testified that he was not “blaming” the interlock for the carbon monoxide release, but, rather, the

“combustion fan for going out and the exhaust fan for continuing to operate.” Additionally, a

plastic bag was found caught in one of the fans on the day of the emission.




        5
          The statute has since been amended. The current version of the statute states: “The boiler and
the fans shall be interlocked to disable the burners unless a supply of combustion, ventilation, and dilution
air in accordance with the boiler manufacturer’s recommendations is maintained.”


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        Nester claims he performed an external inspection of Boiler 840. It is undisputed that he

did not activate or request that the boiler be activated for the inspection. Nester testified that the

fans were interlocked with the boiler and that he visually verified the interlock’s presence by

tracing the electrical conduit from the combustion fan to the boiler. After his inspection, Nester

noted on the TDLR inspection form that Boiler 840 had no adverse conditions or violations.

Troutt testified in his deposition that he believed the inspection performed by Nester was in

compliance with the Texas Boiler Law and Rules and maintained that he had no criticisms of

Nester’s inspection. Moreover, Troutt stated that the Texas Boiler Law and Rules do not require

inspectors to activate a boiler during an inspection.

                1.      McDaniel’s Reliance on Smith’s Report

        In addition to the Motion for Summary Judgment, Continental filed a separate motion to

exclude Plaintiffs’ boiler expert, McDaniel, from testifying as an expert.6 The admission or

exclusion of expert witness testimony is a matter that is left to the discretion of the district court.

Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999); see United States v. Herman, 997 F.3d

251, 269 (5th Cir. 2021); Hicks-Fields v. Harris County, 860 F.3d 803, 810 n.22 (5th Cir.), cert.

denied, 138 S. Ct. 510 (2017); Huss v. Gayden, 571 F.3d 442, 452 (5th Cir. 2009), cert. denied,

559 U.S. 1006 (2010); Nano-Proprietary, Inc. v. Cannon, Inc., 537 F.3d 394, 399 (5th Cir.

2008). Pursuant to Rule 702 of the Federal Rules of Evidence:




        6
          The court granted the motion in part and denied it in part, concluding that McDaniel may testify
as to boiler design, condition, operation, and maintenance, but may not testify as to the applicable legal
requirements and proper scope of state-mandated boiler inspections in Texas, the standard of care for
boiler inspectors in Texas, the causation of the carbon monoxide discharge at MMS, or how Nester’s
alleged acts or omissions caused or contributed to the carbon monoxide emission incident.


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       A witness who is qualified as an expert by knowledge, skill, experience, training,
       or education may testify in the form of an opinion or otherwise if: (a) the expert’s
       scientific, technical, or other specialized knowledge will help the trier of fact to
       understand the evidence or to determine a fact in issue; (b) the testimony is based
       on sufficient facts or data; (c) the testimony is the product of reliable principles and
       methods; and (d) the expert has reliably applied the principles and methods to the
       facts of the case.

FED. R. EVID. 702; accord Kumho Tire Co., 526 U.S. at 152; Daubert v. Merrell Dow Pharms.,

Inc., 509 U.S. 579, 588 (1993). The trial court possesses considerable flexibility in assessing the

reliability of expert testimony. Kumho Tire Co., 526 U.S. at 141; United States v. Schaffer, 439

F. App’x 344, 346 (5th Cir. 2011) (citing Guy v. Crown Equip. Corp., 394 F.3d 320, 325 (5th

Cir. 2004)); United States v. Valencia, 600 F.3d 389, 424 (5th Cir.), cert. denied, 562 U.S. 893

(2010); Alpizar v. John Christner Trucking, LLC, ___ F. Supp. 3d ___, No. SA-17-CV-0712-JKP,

2021 WL 4943691, at *2 (W.D. Tex. Oct. 22, 2021).

       “[E]xpert testimony based solely or primarily on the opinions of other experts is inherently

unreliable.” Hunt v. McNeil Consumer Healthcare, 297 F.R.D. 268, 275 (E.D. La. 2014). “It

is only when the expert undertakes some independent investigation of the underlying opinions that

his testimony may be considered reliable.” Id. Simply put, a testifying expert may not “act as

a mere conduit” for another expert’s opinion. Ramirez v. Escajeda, No. EP-17-CV-00193-DCG,

2021 WL 1131721, at *14 (W.D. Tex. Mar. 24, 2021). The “[l]ack of [McDaniel’s] originality

is not dispositive,” but “[t]he crucial issue is whether [he] independently evaluated or verified the

opinions upon which he relies.” United Servs. Auto. Ass’n v. Wells Fargo Bank, N.A., No. 2:18-

CV-00366-JRG-RSP, 2019 WL 6896674, at *3 (E.D. Tex. Dec. 18, 2019) (quoting Hunt, 297

F.R.D. at 275). An expert cannot parrot the opinions and conclusions of other experts whose

testimony is not subject to cross-examination. Hunt, 297 F.R.D. at 275.


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       Notably, McDaniel stated in his report and confirmed at his deposition that he was “not

going to explore the cause of the incident at MMS in Beaumont, Texas.” Instead, he indicated that

he reviewed reports by others, including three other Plaintiffs’ experts, and agreed with them

about the cause of the incident:

       Q.      So going back to that statement we were talking about, “This report is not
               going to explore the cause of the incident at Marshall Middle School in
               Beaumont, T[exas],” which other expert reports address the cause of the
               incident at Marshall Middle School?

       A.      Rick Smith’s, Paul Rosenfeld’s, Rick Bost’s.

       Q.      Okay. And so you are not addressing the cause of the incident because it’s
               already being addressed by Mr. Smith, Mr. Bost, and Mr. Rosenfeld?

       A.      That is correct.

Specifically, he indicated that he reviewed the report of Plaintiffs’ former boiler expert, Rick

Smith (“Smith”), who passed away unexpectedly before he was deposed. During McDaniel’s

deposition, he stated the following:

       Q.      So with respect to Mr. Smith’s prior report, my understanding, from what
               you told me . . . was that you were relying on Mr. Smith’s report, but
               didn’t have any specific opinion yourself as to what Mr. Smith testified
               about regarding the cause of the carbon monoxide incident. Is that not
               correct?

       A.      That is correct, but I do have an opinion that Mr. Smith was correct in his
               determination. So that wasn’t perfectly clear, obviously.

       Q.      Well, what -- what kind of the analysis did you perform yourself to confirm
               Mr. Smith’s conclusions?

       A.      I did no analysis, other than knowing Mr. Smith, knowing what we’ve gone
               through in the past, our conversations in the past, and that the determination
               he came with the facts that he put in his report made sense.




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       Q.      Okay. So you’re relying on the analysis that was done by Mr. Smith and
               haven’t done any independent analysis yourself to confirm those, other than
               just agreeing with Mr. Smith’s, based on your reading of it?

       A.      That’s correct.

He further confirmed:

       Q.      [Y]ou haven’t made an independent evaluation and come to an opinion
               about what caused this carbon monoxide release?

       A.      That’s correct. I have not.

       In other words, McDaniel admitted at his deposition that he did not undertake his own

independent evaluation of the cause of the carbon monoxide release but merely agreed with other

experts’ reports. Because Smith is deceased, he will not be available for cross-examination as to

his opinions on causation. Consequently, McDaniel cannot merely rely on “knowing Mr. Smith,

knowing what [they have] gone through, [or their] conversations in the past” to support an expert

opinion. Such a method falls far short of what is required under the Federal Rules of Evidence

and Daubert. Thus, because McDaniel did not perform his own evaluation, his testimony is not

reliable and he could not offer an opinion as to causation at trial. Moreover, in their summary

judgment response, Plaintiffs do not provide other competent expert testimony on causation,

including any testimony by the other experts whose reports McDaniel purportedly reviewed.

Plaintiffs’ burden is to produce sufficient evidence to create a fact issue. By relying almost solely

on McDaniel’s unreliable testimony, which would not be admissible at trial, Plaintiffs failed to

meet this burden.




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                2.      McDaniel’s Declaration

        Further, McDaniel’s subsequent declaration contradicts his report and deposition with

respect to causation by stating generally that “Continental’s inspection performed on November

5, 2015 was inadequate and the cause of this incident.” This late-stage attempt to inject

contradictory expert opinion testimony fails to create a fact issue as to causation. A declaration

that contradicts the declarant’s deposition testimony is not sufficient evidence to create a fact issue.

Free v. Wal-Mart La., LLC, 815 F. App’x 765, 766 (5th Cir. 2020) (citing Doe ex rel. Doe v.

Dall. Indep. Sch. Dist., 220 F.3d 380, 386 (5th Cir. 2000)). Moreover, it is well settled that the

Fifth Circuit “does not allow a party to defeat a motion for summary judgment using an affidavit

that impeaches, without explanation, sworn testimony.” S.W.S. Erectors, Inc. v. Infax, Inc., 72

F.3d 489, 495 (5th Cir. 1996); accord Moffett v. Miss. Dep’t of Mental Health, 507 F. App’x 427,

434 (5th Cir. 2013); Bouvier v. Northrup Grumman Ship Sys., Inc., 350 F. App’x 917, 920 (5th

Cir. 2009); McArdle v. Dell Prods., L.P., 293 F. App’x 331, 335 (5th Cir. 2008). “Conflicts

between deposition testimony and subsequent affidavits or declarations are resolved in favor of the

deposition testimony unless the conflict is explained.” Colindres v. Quietflex Mfg., 427 F. Supp.

2d 737, 746 (S.D. Tex. 2006) (citing Valleza v. City of Laredo, 331 F. Supp. 2d 579, 582-83

(S.D. Tex. 2004)). Thus, “under the ‘sham affidavit’ doctrine, a ‘nonmovant cannot defeat a

motion for summary judgment by submitting an affidavit which directly contradicts, without

explanation, [his] previous testimony.’” Powell v. Dall. Morning News L.P., 776 F. Supp. 2d

240, 247 (N.D. Tex. 2001) (quoting Albertson v. T.J. Stevenson & Co., Inc., 749 F.2d 223, 228

(5th Cir. 1984)); see Scott v. Harris, 550 U.S. 372, 380 (2007).




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       The sham affidavit doctrine, however, “is applied sparingly and may be invoked only

where there is some inherent inconsistency between an affidavit and a deposition.” Eure v. Sage

Corp., 61 F. Supp. 3d 651, 658 (W.D. Tex. 2014); see Axxiom Mfg., Inc. v. McCoy Invs., Inc.,

846 F. Supp. 2d 732, 750 (S.D. Tex. 2012). When a subsequent affidavit “merely supplements

rather than contradicts prior deposition testimony, the court may consider the affidavit when

evaluating genuine issues in a motion for summary judgment.” Durant v. Brooks, 826 F. App’x

331, 336 (5th Cir. 2020) (citing S.W.S. Erectors, Inc., 72 F.3d at 496). An affidavit is

supplementary if it clarifies or provides additional facts not given in the prior deposition and when

the prior deposition “only glanced upon the disputed issue.” Sabre Indus. Inc. v. Module X

Solutions, L.L.C., 845 F. App’x 293, 298 (5th Cir. 2021).

       “The inquiry, as a whole, is aimed at gleaning whether the later affidavit is ‘so markedly

inconsistent with the affiant’s prior deposition as to constitute an obvious sham.’” Id.; Winzer v.

Kaufman County, 916 F.3d 464, 472 (5th Cir. 2019). If the court finds that an affidavit or sworn

statement contradicts prior deposition testimony, it is properly excluded from consideration in

connection with a motion for summary judgment. Free v. Wal-Mart La., L.L.C., 815 F. App’x

765, 767 (5th Cir. 2020) (affirming district court’s exclusion of plaintiff’s affidavit where she

provided no explanation for its contradictory statements); Bouvier, 350 F. App’x at 920 (affirming

district court’s exclusion of plaintiff’s sworn statement, which was inconsistent with her prior

deposition testimony); Pazarin v. Armes, 512 F. Supp. 2d 861, 870 (W.D. Tex. 2007) (striking

plaintiff’s affidavit where she provided no explanation for its contradictory statements). “[C]ourts

typically require some explanation for an inconsistency between a deposition and affidavit.” Free,




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815 F. App’x at 767. Thus, “[a] court may . . . strike an affidavit that, without explanation,

conflicts with prior deposition testimony.” Id.

       “Although the court must resolve all factual inferences in favor of the nonmovant, the

nonmovant cannot manufacture a disputed material fact where none exists.” Blank v. United

States, No. 4:20-CV-096-A, 2021 WL 4037500, at *2 (N.D. Tex. Sept. 2021) (citing Albertson

v. T.J. Stevenson & Co., Inc, 749 F.2d 223, 228 (5th Cir. 1984)). “If a party who has been

examined at length on deposition could raise an issue of fact simply by submitting an affidavit

contradicting his own prior testimony, this would greatly diminish the utility of summary judgment

as a procedure for screening out sham issues of fact.” Doe, 220 F.3d at 386; see Cleveland v.

Pol’y Mgmt. Sys. Corp., 526 U.S. 795, 806 (1999) (recognizing that lower courts “have held with

virtual unanimity that a party cannot create a genuine issue of fact sufficient to survive summary

judgment simply by contradicting his or her own previous sworn statement (by, say, filing a later

affidavit that flatly contradicts that party’s earlier sworn deposition) without explaining the

contradiction or attempting to resolve the disparity”).

       Furthermore, “a summary assertion made in an affidavit is simply not enough proof to

raise a genuine issue of material fact.” Shastry v. U.S. Bank Nat’l Ass’n, No. 3:16-cv-3335-G-

BN, 2021 WL 849015, at *5 (N.D. Tex. Feb. 11, 2021), adopted by 2021 WL 842132 (N.D.

Tex. 2021) (citing First Colony Life Ins. Co. v. Sanford, 555 F.3d 177, 181 (5th Cir. 2009));

accord Galindo, 754 F.2d at 1216; see Reese v. Anderson, 926 F.2d 494, 499 (5th Cir. 1991)

(“What is needed in an affidavit of this sort are facts, reasons, observations, and explanations—in

a word, evidence—not sweeping conclusions.”) (emphasis in original).




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       In this situation, Plaintiffs cannot raise a genuine issue of material fact based on

McDaniel’s inconsistent statements. Notably, McDaniel’s declaration was signed on July 12,

2021, after Continental filed its Motion for Summary Judgment. In fact, in his declaration,

McDaniel specifically notes Continental’s summary judgment argument that he did not adequately

address causation. McDaniel’s deposition, as well as his report, contradict his declaration with

respect to his opinion regarding causation. In his deposition, McDaniel stated:

       Q.      As you sit here today, can you tell us what would have happened if Mr.
               Nester had gone through those steps and turned off the power to the fan,
               whether the boiler would have turned off or not?

       A.      Well, if the boiler didn’t turn off and the fan was turned off, the next step
               is to red-tag the boiler, from his standpoint, until he had somebody tell him
               why.

       Q.      Yeah. My -- I’m going one step back from that. So do you know what
               would have happened if he had switched the switch off, if he turned the --

       A.      No, I do not.

       Q.      Okay. So it’s entirely possible that Mr. Nester would have walked into that
               room, gone through those steps, cut off the power to the fan, and the boiler
               would have turned off as well, right?

       A.      If everything worked, yes. But again, unless he did that, you don’t
               know – he doesn’t know.

The only information McDaniel provides in the declaration to support his contention that the boiler

inspection was the cause of the incident, however, is the following:

       It is a fact that on January 28, 2016 the boiler was operating in the absence of
       proper air flow from the ventilation fans. This event would not have occurred
       otherwise. This fact confirms that had Nester put the boiler in operation and
       stopped the fans, during his November 5, 2015 [sic], the boiler would not have
       stopped, just as it did not stop on January 28, 2016 when the combustion fan seized
       up.



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       At deposition, McDaniel explicitly stated that he did not know what would have happened

if Nester had taken these actions and that it was possible the boiler would have turned off. In

contrast, in his declaration, he stated that the boiler would not have turned off if Nester had

completed these steps. This assertion, therefore, directly contradicts McDaniel’s deposition

testimony. Moreover, McDaniel stated both in his expert report and at deposition that he would

not address causation yet he then proceeded to do so in the declaration filed well after the

deposition and only after Continental’s motion for summary judgment had been submitted.

McDaniel’s declaration is not only contradictory, but it is also conclusory and conjectural, lacking

any underlying independent analysis or factual support for his newly-rendered opinion regarding

causation. Consequently, McDaniel’s declaration cannot serve to create a genuine issue of fact

as to causation.

               3.      McDaniel’s Errata Sheets

       With regard to McDaniel’s testimony on causation, Plaintiffs contend that McDaniel

“clarified” his deposition testimony and provided his own opinion on causation via changes he

made on his errata sheet. Continental counters that a second errata sheet, which contains these

changes, is inadmissible evidence that should not be considered as part of the record because it

does not comply with Federal Rule of Civil Procedure 30(e). Continental further asserts that even

if the second errata sheet is admissible, it “does not negate any of the grounds for his exclusion

because it does not show that he is qualified to testify about the standard of care applicable to a

Texas boiler inspector and does not overcome the reliability problems that were evident in his

report and deposition.” According to Continental, the “shifting and contradictory” changes made

to McDaniel’s deposition testimony in the second errata highlight the unreliability of his opinions.


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       It is well established that a deponent may make changes to his or her deposition testimony.

Federal Rule of Civil Procedure 30(e) provides that:

       On request by the deponent or a party before the deposition is completed, the
       deponent shall have 30 days after being notified by the court reporter that the
       transcript . . . is available in which to review the transcript . . . and, if there are
       changes in form or substance, to sign a statement listing the changes and the
       reasons for making them.

FED. R. CIV. P. 30(e); see Reed v. Hernandez, 114 F. App’x 609, 611 (5th Cir. 2004). Many

courts in the Fifth Circuit have held that deponents may make substantive, contradictory changes

to their deposition testimony. See, e.g., Hernandez v. Rush Enters., Inc., 336 F.R.D. 534, 536

(E.D. Tex. 2020); accord Broussard v. Bd. of Supervisors of La. State Univ., No. 19-00527-BAJ-

RLB, 2021 WL 3032666, at *5 (M.D. La. July 19, 2021); Crawford v. Mare Mortg., LLC, No.

4:05-CV-186-LR, 2006 WL 1892072, at *1 (S.D. Miss. July 10, 2006). Additionally, “[f]ederal

courts have typically been more forgiving of changes made to deposition testimony that come

before summary judgment motions have been filed.” Raytheon Co. v. Indigo Sys., Corp., No.

4:07-cv-109, 2009 WL 424773, at *2 (E.D. Tex. Feb. 18, 2009). Rule 30(e), however, “does

not provide any exceptions to its requirements.” Reed, 114 F. App’x at 611 (holding that

untimely substantive and contradictory changes to deposition testimony were not admissible

because they did not comply with Rule 30(e)). “[P]arties making substantive changes to their

deposition testimony must provide a sufficient explanation for the changes.” Riley v. Ford Motor

Co., No. 2:09-CV-148-KS-MTP, 2011 WL 3157204, at *4 (S.D. Miss. July 26, 2011). “One-

word, conclusory explanations are not sufficient.” Id.; see Crawford, 2006 WL 1892072, at *1

(holding that where changes to the deposition testimony substantially altered or contradicted earlier

testimony, “one-word explanations . . . are insufficient to amount to ‘reasons’ within the meaning


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of Rule 30(e), as changing a ‘yes’ response to a ‘no’ requires more rationale than the word

‘correction’”). Should a deponent seek to change his testimony without sufficient explanation, the

court is not required to allow the amendment.

        McDaniel was deposed on May 6, 2021. Continental asserts that on June 1, 2021, the

court reporter emailed Continental regarding McDaniel’s errata sheet. Specifically, the email

contained three attached documents: (1) a cover letter from the court reporter dated June 1, 2021,

(2) a declaration dated May 23, 2021, electronically signed by McDaniel, in which he swore that

the deposition testimony was true and correct, except for the changes listed on the errata sheet,

and (3) the errata sheet, which was also dated May 23, 2021, and electronically signed by

McDaniel. The signed errata sheet contained six changes correcting short words or phrases in the

deposition transcript. Continental also contends that on June 7, 2021, the court reporter sent a

second email, containing an identical subject line, the same June 1, 2021, cover letter, and the

original errata sheet, but also attaching a second errata sheet to the end of the original errata sheet.

The second errata sheet was unsigned, undated, and was in a different format and font than the

first errata sheet.   Further, it contained six additional substantive changes to McDaniel’s

testimony. Continental filed the instant motion several weeks later, on June 29, 2021. To explain

the discrepancies between the two errata sheets, Plaintiffs contend that McDaniel submitted the

original changes to the court reporting website on May 23, 2021. Then, according to Plaintiffs,

sometime between June 1 and June 7, 2021, McDaniel attempted to make additional changes to

his deposition testimony but was unable to access the electronic errata link. He then allegedly

contacted the court reporter, who informed him that the errata link is accessible only once, and,




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because the 30-day deadline to make changes had not passed, sent him a form to make the

additional changes.

       In his second errata sheet, which is neither dated nor signed, McDaniel made numerous

substantive changes to his deposition testimony and included contradictory responses to questions

posed. McDaniel, however, provided only a vague, two-word explanation for each of the six

changes he made in the second errata sheet—“for clarification.” Continental contends that “[t]he

unsigned second errata appears to have been an attempt to mitigate McDaniel’s concessions in his

deposition by offering ‘clarifications’ that contradict his report and sworn testimony.” Indeed,

McDaniel’s changes do not directly answer the questions asked of him and add information that

appears out of place. For example, McDaniel was asked the following question: “So it’s entirely

possible that Mr. Nester would have walking into that room, gone through those steps, cut off the

power to the fan, and the boiler would have turned off as well, right?” In response, McDaniel

originally testified that if Nester had fired the boiler and then turned off the fans, as he believes

Nester should have done to test the interlock, the boiler could have turned off, indicating the

interlock was operating properly. He then “clarified” this testimony in the second errata sheet,

stating: “[Nester] did not complete a proper inspection. If he did a proper inspection[,] the

incident would not have happened.” McDaniel also stated in the second errata sheet that if Nester

had “tested the [interlock] switch with a proper inspection, he would have found a probable cause

of the CO release,”—yet, he testified in his deposition that he did not know whether there was an

interlock at all. Moreover, as discussed in the court’s order regarding the scope of McDaniel’s

testimony, McDaniel is not qualified to opine as to what “a proper inspection” of a boiler in Texas

encompasses.


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       While such changes in substance may be permissible under certain circumstances, the

second errata sheet does not satisfy the requirements of Rule 30(e). Importantly, McDaniel did

not sign the second errata sheet within the required 30-day period. Although Plaintiffs provided

a notarized and signed copy of the second errata sheet on November 15, 2021, as part of the

supplemental briefing addressing Continental’s Motion for Summary Judgment, this is not

sufficient to cure the deficiency and satisfy the requirements of Rule 30(e). Further, Plaintiffs’

and McDaniel’s stated explanation for the changes in the second errata sheet is that they are “for

clarification.” This two-word reason is conclusory and insufficient to explain the far-reaching and

contradictory, substantive changes McDaniel made to his deposition testimony. In any event,

Plaintiffs never cited to the second errata sheet in their summary judgment response. Indeed,

Plaintiffs admitted that they were not relying on the second errata sheet to defeat summary

judgment. Therefore, the court finds that the second errata sheet is inadmissible because it does

not comply with Rule 30(e) and declines to consider it as part of the record.

               4.     Interlock

       McDaniel faults Nester for not identifying several alleged issues with the boiler but admits

that most of these issues would not have caused the carbon monoxide release. Indeed, in their

summary judgment response, Plaintiffs focus the crux of their argument on the fan interlock.

McDaniel asserts that Nester should have asked for the boiler to “be fired” and then disabled the

air flow to the fans to ensure the interlock was operating properly.

       McDaniel concedes, however, that he does not know what would have happened had

Nester taken these steps and also admits that, even if Nester had activated the boiler and disabled

the fans, the boiler could have turned off, indicating the interlock was operating properly.


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McDaniel further admits that it is appropriate for an inspector to rely on the boiler attendant’s

confirmation of the interlock’s presence. Additionally, McDaniel testified that he did not know

if Boiler 840 had an interlock, and, if it did, what type it was, whether it worked, how it was

electrically wired, or whether it was required to be connected to the exhaust fan pursuant to the

Texas Boiler Law and Rules. Moreover, while the Texas Boiler Rules require that a boiler be

inspected while in operation, if possible, and that the boiler and fans have an interlock, the Rules

do not explicitly state that an inspector must ensure that the interlock is operating properly by

testing the interlock while firing the boiler. Notably, the TDLR issued a public statement that

section 65.603, which contains the interlock requirement, “should not be interpreted as inspection

checklist items” and is the responsibility of the boiler owner and operator. See 40 Tex. Reg. 3125

(2015). Further, McDaniel conceded that individual inspectors have discretion in determining

whether to perform an internal or external inspection and that the Chief Boiler Inspector is the

ultimate authority on what is required for a boiler inspection. Indeed, contrary to McDaniel’s

testimony, Troutt testified that an inspector is not required to fire a boiler during an external

inspection.

       McDaniel also asserts that Nester should have noticed evidence of flame impingement, or

flame rollout, on the boilers. In his deposition, however, McDaniel stated that he would not opine

that flame impingement was a cause of the carbon monoxide emission, or even that it was a

contributing factor. Instead, he stated that he would only opine that it “could have been” a

contributing factor. Plaintiffs also point to deposition testimony of Continental’s formerly retained

expert, John Puskar (“Puskar”), in which he discussed issues he observed with Boiler 840




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post-incident. Puskar, however, similarly testified that he could not opine on whether flame

rollout caused the carbon monoxide emission:

       Q.      Do you know, as you sit here today,whether that flame rollout caused the
               carbon monoxide release on January 28, 2016?

       A.      I do not.

Notably, in reference to flame impingement, Plaintiffs contend that “[t]he exact source of the

carbon monoxide production really isn’t relevant” anyway. Instead, they assert that the relevant

issue is why the interlock did not shut down the boiler on the day of the incident:

       [R]egardless of the reason for the carbon monoxide production, had there been a
       properly functioning combustion safety interlock between the ventilation fans and
       the boiler, the carbon monoxide produced by the unsafe boiler would not have been
       allowed to accumulate in the boiler room so as to be distributed throughout the
       school.

       Importantly, however, Troutt’s testimony indicates that the interlock was working properly

on the day of the incident, but that the switch was merely moved to the off position:

       Q.      And when you observed 840 boiler at Marshall Middle School in January
               of 201[6] was the interlock working properly?

       A.      When the light switch was turned on, yes.

       Q.      And your point about the light switch is?

       A.      So the light -- if the light switch is turned on, the fan is running. If the
               light switch is turned off, the fan is not running. The power for the boiler
               was switched over -- was taken over to -- or the trip for the interlock of the
               boiler was taken to the fan – or to the light switch instead of the fan.

Plaintiffs admit as much: “Troutt found the interlock only worked properly with the wall switch

in the ‘on’ position when he inspected the boiler on the day of the event. Importantly, a properly

functioning interlock should not be defeated by the flick of a switch (or else it’s not a true



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interlock).” McDaniel, however, confirmed that this particular wall switch configuration is typical

for interlocks for boilers installed in the late 1980s, the time period during which Boiler 840 was

installed. Thus, the wall switch could have been flipped from “on” to “off” on the day of the

incident, which deactivated the interlock device temporarily, rather than the entire interlock

operating improperly. In any event, Plaintiffs have not definitively identified through admissible

expert testimony any problem that existed on the day of the inspection that later caused the carbon

monoxide emission. Plaintiffs must show more than just a mere possibility that Nester’s acts or

omissions caused or created a condition that made the carbon monoxide event possible. See

Mason v. Amed-Health, Inc., 582 S.W.3d 733, 789-90 (Tex. App.—Houston [1st Dist.] 2019, pet.

filed) (citing IHS Cedars Treatment Ctr. of DeSoto, Tex., Inc., 143 S.W.3d at 798-99).

               5.      Wall Switch Configuration

       Plaintiffs criticize Boiler 840’s interlock wall switch configuration, but admitted that the

interlock device worked properly on the day of the carbon monoxide emission when the switch

was moved to the “on” position. To establish proximate cause, Plaintiffs must show that Nester

had a duty of care regarding the switch and that it was foreseeable to Nester that someone would

turn the switch off, causing the interlock to stop working properly. While the wall switch

configuration arguably could be viewed as a design flaw in the interlock system, it was commonly

used at the time the boiler was installed, according to all the expert testimony in the record.

Plaintiffs cannot establish that it was the duty of the jurisdictional inspector to redesign the boiler

interlock system or to remove a boiler with such a configuration from service. Notably, Plaintiffs

admit that many boilers presently in use in Texas utilize the same wall switch design—boilers that

presumably pass jurisdictional inspections regardless of their interlock configuration. Indeed, the


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Texas Boiler Law and Rules require an interlock but do not specify the exact design of the

interlock device. Plaintiffs have not offered any evidence that boiler inspectors have a duty to

confirm that boilers have a particular type of interlock design or to render inoperative boilers with

certain types of interlock device configurations. Thus, Plaintiffs have not shown that Nester’s

duty of care as an inspector entailed examining the interlock switch or that he had the duty to take

Boiler 840 out of operation based on the wall switch design.

       Further, although it is not clear from the record whether the plastic bag found in the fan

affected the interlock’s operation on the day of the emission, Plaintiffs have not shown—nor

attempted to show—that Nester could have foreseen that a foreign object would get caught in the

fan 84 days after his inspection. Moreover, according to evidence in the record, the MMS boilers

automatically turned on when the outside temperature reached 45 or 50 degrees Fahrenheit. After

Nester’s inspection, the temperature in Beaumont fell within that range on 20 school days. In fact,

Plaintiffs concede that the boilers operated properly after Nester’s inspection and before the carbon

monoxide release. Indeed, even McDaniel admitted that Boiler 840 operated without incident after

Nester’s inspection. Hence, Plaintiffs have failed to show that it was foreseeable that Nester’s

inspection would cause the carbon monoxide emission that occurred 84 days later. Therefore, in

the absence of admissible expert testimony on this topic, Plaintiffs cannot show that Nester’s

inspection proximately caused the carbon monoxide emission at MMS.

       E.      Gross Negligence

       It is well established that a party cannot succeed on a gross negligence claim in the absence

of a viable negligence claim. City of Dallas v. Patrick, 347 S.W.3d 452, 458 (Tex. App.—Dallas

2011, no pet.); Sonic Sys. Int’l, Inc. v. Croix, 278 S.W.3d 377, 394-95 (Tex. App.—Houston


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[14th Dist.] 2008, no pet.); Hall v. Stephenson, 919 S.W.2d 454, 467-68 (Tex. App.—Fort Worth

1996, writ denied) (citing Shell Oil Co. v. Humphrey, 880 S.W.2d 170, 174 (Tex. App.—Houston

[14th Dist.] 1994, writ denied); Trevino v. Lightning Laydown, Inc., 782 S.W.2d 946, 949 (Tex.

App.—Austin 1990, writ denied) (“Although . . . gross negligence refers to a different character

of conduct, one’s conduct cannot be grossly negligent without being negligent.”). Thus, because

Plaintiffs do not have a viable negligence claim, they cannot succeed on their claim of gross

negligence or willful and wanton conduct.

III.   Conclusion

       In sum, Plaintiffs have not produced any evidence—let alone, sufficient evidence—to show

that Continental’s conduct caused the carbon monoxide release. While Plaintiffs claim that

Nester’s inspection was negligent, Plaintiffs cannot show that the interlock would have failed had

Nester activated the boiler during his inspection. Importantly, “cause in fact is not established

where the defendant’s negligence does no more than furnish a condition which makes the injuries

possible.” Mason, 582 S.W.3d at 789-90. Plaintiffs assert that Nester failed to activate the boiler

and test the interlock during his inspection on November 5, 2015, but they do not offer a modicum

of evidence as to how this conduct caused the release of carbon monoxide 84 days later, on

January 28, 2016, or that such a release was foreseeable at the time of the inspection. In their

response, Plaintiffs rely entirely on McDaniel’s unreliable and inconsistent testimony to show that

Nester’s inspection of the boiler was deficient without proffering any competent evidence

regarding the proximate cause of the carbon monoxide incident. Indeed, the court has excluded

McDaniel as a witness about the causation of the carbon monoxide discharge, including his




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opinion regarding how any acts or omissions of Nester during his inspection of Boiler 840 caused

the carbon monoxide emission at MMS.

       Finally, Plaintiffs suggest that McDaniel will supplement his report to offer new opinions

about causation because the evidentiary record was incomplete at the time Continental filed its

Motion for Summary Judgment. McDaniel, however, is not qualified to render an expert opinion

regarding the duty of care of boiler inspectors in Texas or the cause of the carbon monoxide

emission, and, therefore, he has been excluded as an expert on those issues, rendering

supplementation of his report unavailing. Moreover, as Continental correctly points out, “[i]f the

evidence upon which Plaintiffs rely to avoid summary judgment is incomplete, then summary

judgment should be granted—Plaintiffs have failed to carry their burden to timely point to evidence

in the record to establish material facts in dispute.” In fact, discovery was completed on June 15,

2021, and Continental’s Motion for Summary Judgment complied with the court’s scheduling

order. Plaintiffs made no effort to extend the deadlines regarding the Motion for Summary

Judgment. The time for supplementation has long passed.

       Consequently, Plaintiffs have failed to meet their burden as nonmovants to adduce

sufficient evidence to demonstrate a genuine issue of material fact. Curtis v. Anthony, 710 F.3d

587, 594 (5th Cir. 2013). Thus, the court concludes that the summary judgment evidence

submitted fails to create a cognizable fact issue as to whether Nester’s acts or omissions were the

proximate cause of the carbon monoxide release at MMS. Hence, Plaintiffs cannot establish the

existence of an element essential to their case, namely, causation, on which they bear the burden

of proof at trial, rendering summary judgment appropriate.




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       In accordance with the foregoing analysis, Continental’s Motion for Summary Judgment

(#143) is GRANTED. Plaintiffs fail to present a claim that warrants relief. There remain no

material facts in dispute, and Continental is entitled to judgment as a matter of law.

        SIGNED at Beaumont, Texas, this 6th day of January, 2022.




                                           ________________________________________
                                                       MARCIA A. CRONE
                                                UNITED STATES DISTRICT JUDGE




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